                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                          1:21 CV 150 MR WCM


WILLIAM MARK KRINGS                     )
                                        )
           Plaintiff,                   )                         ORDER
                                        )
V.                                      )
                                        )
AVL TECHNOLOGIES, INC.                  )
                                        )
           Defendant.                   )
_________________________________ _____ )

         This matter is before the Court on Plaintiff’s “Motion to Take Leave for

Early Discovery and Continuance” (the “Motion,” Doc. 23).

    I.      Relevant Background

         Plaintiff William Mark Krings (“Plaintiff”), who is proceeding pro se,

filed his Complaint on June 8, 2021. Doc. 1.

         On July 1, 2021, Defendant AVL Technologies, Inc. (“Defendant”) filed a

Motion to Dismiss. Doc. 4. In addition to filing a response to that Motion to

Dismiss, Plaintiff has filed numerous other motions.1



1 The undersigned has issued a separate Memorandum and Recommendation with
respect to (1)Defendant’s Motion to Dismiss (Doc. 4); (2) Plaintiff’s “Motion to Enjoin
Discrimination by Sex” (Doc. 10); (3) Plaintiff’s “Motion to Enjoin Discrimination by
Religion” (Doc. 11); (4) Plaintiff’s “Motion for Intellectual Award” (Doc. 12); (5)
Plaintiff’s “Motion for Correction Rule 60(b)(2)(4)(5)(6) Relief from a Judgment or
Order and Rule 42(a)(1)(2)(3) Motion for Consolidation” (Doc. 17); (6) Plaintiff’s
                                          1

         Case 1:21-cv-00150-MR-WCM Document 28 Filed 11/08/21 Page 1 of 3
          On October 12, 2021, Plaintiff filed the instant Motion. Doc. 23.

Defendant has filed a response in opposition, Doc. 24, and Plaintiff has filed a

“Notice to Not File a Counter Brief to Defenance’s [sic] Response Re: Motion to

Take Leave for Early Discovery” (the “Notice,” Doc. 26).

    II.      Discussion

          In his Motion, Plaintiff states that he has “approached the U S Attorney’s

Office…requesting consideration for Criminal Prosecution referencing this

Case Number,” has “contacted the FBI Charlotte, NC to instigate Criminal

Process,” and asks for “Time, Continuance to allow Early Discovery via

Criminal Process.” Doc. 23 at 2.

          To the extent Plaintiff seeks leave to conduct early discovery in this

matter, Plaintiff has not established that early discovery is appropriate. See

Teamworks Innovations, Inc. v. Starbucks Corporation, 1:19CV1240, 2020 WL

406360, at *3 (M.D.N.C. Jan. 24, 2020) (applying good cause/reasonableness

standard) (citing 8A Charles Alan Wright, et al., Federal Practice and

Procedure § 2046.1 (3d ed. & Aug. 2019 Update)).2 Accordingly, to the extent




“Motion for Relief from a Judgment or Order – Motion for Consolidation Retaliation”
(Doc. 18); and (7) Plaintiff’s Motion for Default (Doc. 25).
2 To the extent this Motion is related to Plaintiff’s Motion for Default, the Motion for
Default has been addressed in the undersigned’s separate Memorandum and
Recommendation. See Doc. 26 (Plaintiff’s Notice in which Plaintiff directs the court
to Plaintiff’s Motion for Default).

                                           2

          Case 1:21-cv-00150-MR-WCM Document 28 Filed 11/08/21 Page 2 of 3
Plaintiff seeks leave to conduct early discovery beyond that expressly allowed

by the Federal Rules of Civil Procedure, the Motion will be denied.

      Further, to the extent Plaintiff is seeking a general continuance or stay

based on his requests for one or more criminal investigations, Plaintiff has

likewise not provided any basis for granting such relief. The current record

does not indicate that any actual investigation has been opened or charges

brought, and it is not otherwise apparent that this matter should be stayed.

      IT IS THEREFORE ORDERED that Plaintiff’s “Motion to Take Leave

for Early Discovery and Continuance” (the “Motion,” Doc. 23) is DENIED.


                                  Signed: November 8, 2021




                                       3

     Case 1:21-cv-00150-MR-WCM Document 28 Filed 11/08/21 Page 3 of 3
